Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 1 of 16 Page ID #:545




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   8
   9                              UNITED STATES DISTRICT COURT
  10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 TIANHAI LACE USA INC.,                     CASE NO. 2:17-cv-07512-AB (PJWx)
  13 a New York corporation,
                                                DEFENDANT’S ANSWER AND
  14                     Plaintiff,             AFFIRMATIVE DEFENSES TO
                                                SECOND AMENDED COMPLAINT
  15
                   vs.                          [DEMAND FOR JURY TRIAL]
  16
                                                Assigned to Hon. André Birotte Jr.
  17 FOREVER 21, INC.,
     a Delaware corporation and DOES 1-
  18 10,
  19
                 Defendants.
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 2 of 16 Page ID #:546




   1               Defendant Forever 21, Inc. (“Defendant”), through undersigned counsel,
   2 hereby responds to the allegations in Plaintiff’s Second Amended Complaint
   3 (“Complaint”) and assert affirmative defenses, as follows:
   4                                   ANSWER TO COMPLAINT
   5               1.    Defendant denies having any knowledge or information sufficient to
   6 form a belief as to the truth of the allegations in ¶ 1 of the Complaint, and on that
   7 basis denies the same.
   8               2.    Defendant denies having any knowledge or information sufficient to
   9 form a belief as to the truth of the allegations in ¶ 2 of the Complaint, and on that
  10 basis denies the same.
  11               3.    Defendant denies that it is a limited liability company and admits that it
  12 is a Delaware corporation doing business in and with the state of California, with its
  13 agent for service of process in California located at 818 West Seventh St., Ste. 930.,
  14 Los Angeles, CA 90017.
  15               4.    Defendant admits that it is a Delaware corporation doing business in
  16 and with the state of California, with its agent for service of process in California
  17 located at 818 West Seventh St., Ste. 930., Los Angeles, CA 90017.
  18               5.    Defendant denies having any knowledge or information sufficient to
  19 form a belief as to the truth of the allegations in ¶ 5 of the Complaint, and on that
  20 basis denies the same.
  21               6.    Defendant denies having any knowledge or information sufficient to
  22 form a belief as to the truth of the allegations in ¶ 6 of the Complaint, and on that
  23 basis denies the same.
  24               7.    Defendant denies having any knowledge or information sufficient to
  25 form a belief as to the truth of the allegations in ¶ 7 of the Complaint, and on that
  26 basis denies the same.
  27               8.    Defendant denies having any knowledge or information sufficient to
  28 form a belief as to the truth of the allegations in ¶ 8 of the Complaint, and on that
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 3 of 16 Page ID #:547




   1 basis denies the same.
   2               9.    Defendant denies having any knowledge or information sufficient to
   3 form a belief as to the truth of the allegations in ¶ 9 of the Complaint, and on that
   4 basis denies the same.
   5               10.   Defendant denies having any knowledge or information sufficient to
   6 form a belief as to the truth of the allegations in ¶ 10 of the Complaint, and on that
   7 basis denies the same.
   8               11.   Defendant denies having any knowledge or information sufficient to
   9 form a belief as to the truth of the allegations in ¶ 11 of the Complaint, and on that
  10 basis denies the same.
  11               12.   Defendant denies having any knowledge or information sufficient to
  12 form a belief as to the truth of the allegations in ¶ 12 of the Complaint, and on that
  13 basis denies the same.
  14               13.   Defendant denies having any knowledge or information sufficient to
  15 form a belief as to the truth of the allegations in ¶ 12 of the Complaint, and on that
  16 basis denies the same.
  17               14.   Defendant denies having any knowledge or information sufficient to
  18 form a belief as to the truth of the allegations in ¶ 14 of the Complaint, and on that
  19 basis denies the same.
  20               15.   Defendant denies having any knowledge or information sufficient to
  21 form a belief as to the truth of the allegations in ¶ 15 of the Complaint, and on that
  22 basis denies the same.
  23               16.   Defendant denies having any knowledge or information sufficient to
  24 form a belief as to the truth of the allegations in ¶ 16 of the Complaint, and on that
  25 basis denies the same.
  26               17.   Defendant denies having any knowledge or information sufficient to
  27 form a belief as to the truth of the allegations in ¶ 17 of the Complaint, and on that
  28 basis denies the same.
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 4 of 16 Page ID #:548




   1               18.   Defendant denies having any knowledge or information sufficient to
   2 form a belief as to the truth of the allegations in ¶ 18 of the Complaint, and on that
   3 basis denies the same.
   4               19.   Defendant denies having any knowledge or information sufficient to
   5 form a belief as to the truth of the allegations in ¶ 19 of the Complaint, and on that
   6 basis denies the same.
   7               20.   Defendant denies having any knowledge or information sufficient to
   8 form a belief as to the truth of the allegations in ¶ 20 of the Complaint, and on that
   9 basis denies the same.
  10               21.   Defendant denies having any knowledge or information sufficient to
  11 form a belief as to the truth of the allegations in ¶ 21 of the Complaint, and on that
  12 basis denies the same.
  13               22.   Defendant denies having any knowledge or information sufficient to
  14 form a belief as to the truth of the allegations in ¶ 22 of the Complaint, and on that
  15 basis denies the same.
  16               23.   Defendant denies having any knowledge or information sufficient to
  17 form a belief as to the truth of the allegations in ¶ 23 of the Complaint, and on that
  18 basis denies the same.
  19               24.   Defendant denies having any knowledge or information sufficient to
  20 form a belief as to the truth of the allegations in ¶ 24 of the Complaint, and on that
  21 basis denies the same.
  22               25.   Defendant denies having any knowledge or information sufficient to
  23 form a belief as to the truth of the allegations in ¶ 25 of the Complaint, and on that
  24 basis denies the same.
  25               26.   Defendant denies having any knowledge or information sufficient to
  26 form a belief as to the truth of the allegations in ¶ 26 of the Complaint, and on that
  27 basis denies the same.
  28               27.   Defendant denies having any knowledge or information sufficient to
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 5 of 16 Page ID #:549




   1 form a belief as to the truth of the allegations in ¶ 27 of the Complaint, and on that
   2 basis denies the same.
   3               28.   Defendant denies having any knowledge or information sufficient to
   4 form a belief as to the truth of the allegations in ¶ 28 of the Complaint, and on that
   5 basis denies the same.
   6               29.   Defendant denies having any knowledge or information sufficient to
   7 form a belief as to the truth of the allegations in ¶ 29 of the Complaint, and on that
   8 basis denies the same.
   9               30.   Defendant denies having any knowledge or information sufficient to
  10 form a belief as to the truth of the allegations in ¶ 30 of the Complaint, and on that
  11 basis denies the same.
  12               31.   Defendant denies having any knowledge or information sufficient to
  13 form a belief as to the truth of the allegations in ¶ 31 of the Complaint, and on that
  14 basis denies the same.
  15               32.   Defendant denies having any knowledge or information sufficient to
  16 form a belief as to the truth of the allegations in ¶ 32 of the Complaint, and on that
  17 basis denies the same.
  18               33.   Defendant denies having any knowledge or information sufficient to
  19 form a belief as to the truth of the allegations in ¶ 33 of the Complaint, and on that
  20 basis denies the same.
  21               34.   Defendant denies the allegations contained in ¶ 34 of the Complaint,
  22 and admits only that at various times Forever 21 Retail, Inc. owned and controlled
  23 certain offline and/or online retail stores.
  24               35.   Defendant denies having any knowledge or information sufficient to
  25 form a belief as to the truth of the allegations in ¶ 35 of the Complaint, and on that
  26 basis denies the same.
  27               36.   Defendant denies having any knowledge or information sufficient to
  28 form a belief as to the truth of the allegations in ¶ 36 of the Complaint, and on that
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 6 of 16 Page ID #:550




   1 basis denies the same.
   2               37.   Defendant denies having any knowledge or information sufficient to
   3 form a belief as to the truth of the allegations in ¶ 37 of the Complaint, and on that
   4 basis denies the same.
   5               38.   Defendant denies having any knowledge or information sufficient to
   6 form a belief as to the truth of the allegations in ¶ 38 of the Complaint, and on that
   7 basis denies the same.
   8               39.   Defendant denies having any knowledge or information sufficient to
   9 form a belief as to the truth of the allegations in ¶ 39 of the Complaint, and on that
  10 basis denies the same.
  11               40.   Defendant denies having any knowledge or information sufficient to
  12 form a belief as to the truth of the allegations in ¶ 40 of the Complaint, and on that
  13 basis denies the same.
  14               41.   Defendant denies having any knowledge or information sufficient to
  15 form a belief as to the truth of the allegations in ¶ 41 of the Complaint, and on that
  16 basis denies the same.
  17               42.   Defendant denies having any knowledge or information sufficient to
  18 form a belief as to the truth of the allegations in ¶ 42 of the Complaint, and on that
  19 basis denies the same.
  20               43.   Defendant denies having any knowledge or information sufficient to
  21 form a belief as to the truth of the allegations in ¶ 43 of the Complaint, and on that
  22 basis denies the same.
  23               44.   Defendant denies having any knowledge or information sufficient to
  24 form a belief as to the truth of the allegations in ¶ 44 of the Complaint, and on that
  25 basis denies the same.
  26               45.   Defendant denies having any knowledge or information sufficient to
  27 form a belief as to the truth of the allegations in ¶ 45 of the Complaint, and on that
  28 basis denies the same.
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 7 of 16 Page ID #:551




   1               46.   Defendant denies having any knowledge or information sufficient to
   2 form a belief as to the truth of the allegations in ¶ 46 of the Complaint, and on that
   3 basis denies the same.
   4               47.   Defendant denies having any knowledge or information sufficient to
   5 form a belief as to the truth of the allegations in ¶ 47 of the Complaint, and on that
   6 basis denies the same.
   7               48.   Defendant denies having any knowledge or information sufficient to
   8 form a belief as to the truth of the allegations in ¶ 48 of the Complaint, and on that
   9 basis denies the same.
  10               49.   Defendant denies having any knowledge or information sufficient to
  11 form a belief as to the truth of the allegations in ¶ 49 of the Complaint, and on that
  12 basis denies the same.
  13               50.   Defendant denies having any knowledge or information sufficient to
  14 form a belief as to the truth of the allegations in ¶ 50 of the Complaint, and on that
  15 basis denies the same.
  16               51.   Defendant denies having any knowledge or information sufficient to
  17 form a belief as to the truth of the allegations in ¶ 51 of the Complaint, and on that
  18 basis denies the same.
  19               52.   Defendant denies having any knowledge or information sufficient to
  20 form a belief as to the truth of the allegations in ¶ 52 of the Complaint, and on that
  21 basis denies the same.
  22               53.   Defendant denies having any knowledge or information sufficient to
  23 form a belief as to the truth of the allegations in ¶ 53 of the Complaint, and on that
  24 basis denies the same.
  25               54.   Defendant denies having any knowledge or information sufficient to
  26 form a belief as to the truth of the allegations in ¶ 54 of the Complaint, and on that
  27 basis denies the same.
  28               55.   Defendant admits that it is a retailer of apparel including clothing,
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 8 of 16 Page ID #:552




   1 accessories, and shoes throughout the United States and denies the remaining
   2 allegations contained in ¶ 55 of the Complaint.
   3               56.   Defendant denies having any knowledge or information sufficient to
   4 form a belief as to the truth of the allegations in ¶ 56 of the Complaint, and on that
   5 basis denies the same.
   6               57.   Defendant denies having any knowledge or information sufficient to
   7 form a belief as to the truth of the allegations in ¶ 57 of the Complaint, and on that
   8 basis denies the same.
   9               58.   Defendant denies having any knowledge or information sufficient to
  10 form a belief as to the truth of the allegations in ¶ 58 of the Complaint, and on that
  11 basis denies the same.
  12               59.   Defendant denies having any knowledge or information sufficient to
  13 form a belief as to the truth of the allegations in ¶ 59 of the Complaint, and on that
  14 basis denies the same.
  15               60.   Defendant denies having any knowledge or information sufficient to
  16 form a belief as to the truth of the allegations in ¶ 60 of the Complaint, and on that
  17 basis denies the same.
  18               61.   Defendant denies having any knowledge or information sufficient to
  19 form a belief as to the truth of the allegations in ¶ 61 of the Complaint, and on that
  20 basis denies the same.
  21               62.   Defendant denies having any knowledge or information sufficient to
  22 form a belief as to the truth of the allegations in ¶ 62 of the Complaint, and on that
  23 basis denies the same.
  24               63.   Defendant denies having any knowledge or information sufficient to
  25 form a belief as to the truth of the allegations in ¶ 63 of the Complaint, and on that
  26 basis denies the same.
  27               64.   Defendant denies having any knowledge or information sufficient to
  28 form a belief as to the truth of the allegations in ¶ 64 of the Complaint, and on that
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 9 of 16 Page ID #:553




   1 basis denies the same.
   2               65.   Defendant denies having any knowledge or information sufficient to
   3 form a belief as to the truth of the allegations in ¶ 65 of the Complaint, and on that
   4 basis denies the same.
   5               66.   Defendant denies having any knowledge or information sufficient to
   6 form a belief as to the truth of the allegations in ¶ 66 of the Complaint, and on that
   7 basis denies the same.
   8               67.   Defendant denies the allegations in ¶ 67 of the Complaint.
   9               68.   Defendant denies the allegations in ¶ 68 of the Complaint.
  10               69.   Defendant denies the various allegations in ¶ 69 of the Complaint and
  11 admits only that ¶ 69 includes an image of what appears to be a Forever 21 garment.
  12               70.   Defendant denies the allegations in ¶ 70 of the Complaint.
  13               71.   Defendant denies the various allegations in ¶ 71 of the Complaint and
  14 admits only that ¶ 71 includes an image of what appears to be a Forever 21 garment.
  15               72.   Defendant denies the allegations in ¶ 72 of the Complaint.
  16               73.   Defendant denies the various allegations in ¶ 73 of the Complaint and
  17 admits only that ¶ 73 includes an image of what appears to be a Forever 21 garment.
  18               74.   Defendant denies the allegations in ¶ 74 of the Complaint.
  19               75.   Defendant denies the various allegations in ¶ 75 of the Complaint and
  20 admits only that ¶ 75 includes an image of what appears to be a Forever 21 garment.
  21               76.   Defendant denies the allegations in ¶ 76 of the Complaint.
  22               77.   Defendant denies the various allegations in ¶ 77 of the Complaint and
  23 admits only that ¶ 77 includes an image of what appears to be a Forever 21 garment.
  24               78.   Defendant denies the allegations in ¶ 78 of the Complaint.
  25               79.   Defendant denies the various allegations in ¶ 79 of the Complaint and
  26 admits only that ¶ 79 includes an image of what appears to be a Forever 21 garment.
  27               80.   Defendant denies the allegations in ¶ 80 of the Complaint.
  28               81.   Defendant denies the various allegations in ¶ 81 of the Complaint and
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            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 10 of 16 Page ID #:554




    1 admits only that ¶ 81 includes an image of what appears to be a Forever 21 garment.
    2               82.   Defendant admits only that Exhibits M, N, O, P, Q, R, and S appear to
    3 be referred to collectively as the “Infringing Products.”
    4               83.   Defendant denies the allegations in ¶ 83 of the Complaint.
    5               84.   Defendant denies the allegations in ¶ 84 of the Complaint.
    6               85.   Defendant denies the allegations in ¶ 85 of the Complaint.
    7               86.   Defendant denies having any knowledge or information sufficient to
    8 form a belief as to the truth of the allegations in ¶ 86 of the Complaint, and on that
    9 basis denies the same.
  10                87.   Defendant denies having any knowledge or information sufficient to
  11 form a belief as to the truth of the allegations in ¶ 87 of the Complaint, and on that
  12 basis denies the same.
  13                88.   Defendant denies the allegations in ¶ 88 of the Complaint.
  14                89.   Defendant denies having any knowledge or information sufficient to
  15 form a belief as to the truth of the allegations in ¶ 89 of the Complaint, and on that
  16 basis denies the same.
  17                90.   Defendant denies the allegations in ¶ 90 of the Complaint.
  18                91.   Defendant denies having any knowledge or information sufficient to
  19 form a belief as to the truth of the allegations in ¶ 91 of the Complaint, and on that
  20 basis denies the same.
  21                92.   Defendant denies the allegations in ¶ 92 of the Complaint.
  22                93.   Defendant denies having any knowledge or information sufficient to
  23 form a belief as to the truth of the allegations in ¶ 93 of the Complaint, and on that
  24 basis denies the same.
  25                94.   Defendant denies the allegations in ¶ 94 of the Complaint.
  26                95.   Defendant denies the allegations in ¶ 95 of the Complaint.
  27                96.   Defendant denies the allegations in ¶ 96 of the Complaint.
  28                97.   Defendant denies having any knowledge or information sufficient to
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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 11 of 16 Page ID #:555




    1 form a belief as to the truth of the allegations in ¶ 97 of the Complaint, and on that
    2 basis denies the same.
    3               98.   Defendant denies having any knowledge or information sufficient to
    4 form a belief as to the truth of the allegations in ¶ 98 of the Complaint, and on that
    5 basis denies the same.
    6               99.   Defendant incorporates by reference the paragraphs above.
    7               100. Defendant denies having any knowledge or information sufficient to
    8 form a belief as to the truth of the allegations in ¶ 100 of the Complaint, and on that
    9 basis denies the same.
  10                101. Defendant denies having any knowledge or information sufficient to
  11 form a belief as to the truth of the allegations in ¶ 101 of the Complaint, and on that
  12 basis denies the same.
  13                102. Defendant denies the allegations in ¶ 102 of the Complaint.
  14                103. Defendant denies the allegations in ¶ 103 of the Complaint.
  15                104. Defendant denies the allegations in ¶ 104 of the Complaint.
  16                105. Defendant denies the allegations in ¶ 105 of the Complaint.
  17                106. Defendant denies the allegations in ¶ 106 of the Complaint.
  18                107. Defendant denies the allegations in ¶ 107 of the Complaint.
  19                108. Defendant denies the allegations in ¶ 108 of the Complaint.
  20                109. Defendant denies the allegations in ¶ 109 of the Complaint.
  21                110. Defendant incorporates by reference the paragraphs above.
  22                111. Defendant denies the allegations in ¶ 111 of the Complaint.
  23                112. Defendant denies the allegations in ¶ 112 of the Complaint.
  24                113. Defendant denies the allegations in ¶ 113 of the Complaint.
  25                114. Defendant denies the allegations in ¶ 114 of the Complaint.
  26                115. Defendant denies the allegations in ¶ 115 of the Complaint.
  27                       AS TO ALLEGATIONS IN PRAYER FOR RELIEF
  28                116. Defendant denies the allegations contained in ¶ A (and each of its
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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 12 of 16 Page ID #:556




    1 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
    2 relief sought therein.
    3               117. Defendant denies the allegations contained in ¶ B (and each of its
    4 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
    5 relief sought therein.
    6               118. Defendant denies the allegations contained in ¶ C (and each of its
    7 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
    8 relief sought therein.
    9               119. Defendant denies the allegations contained in ¶ D (and each of its
  10 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
  11 relief sought therein.
  12                120. Defendant denies the allegations contained in ¶ E (and each of its
  13 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
  14 relief sought therein.
  15                121. Defendant denies the allegations contained in ¶ F (and each of its
  16 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
  17 relief sought therein.
  18                122. Defendant denies the allegations contained in ¶ G (and each of its
  19 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
  20 relief sought therein.
  21                123. Defendant denies the allegations contained in ¶ H (and each of its
  22 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
  23 relief sought therein.
  24                124. Defendant denies the allegations contained in ¶ I (and each of its
  25 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
  26 relief sought therein.
  27                125. Defendant denies the allegations contained in ¶ J (and each of its
  28 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 13 of 16 Page ID #:557




    1 relief sought therein.
    2               126. Defendant denies the allegations contained in ¶ K (and each of its
    3 subparts) of the Prayer for Relief, and contend that plaintiff is not entitled to any
    4 relief sought therein.
    5                                   AFFIRMATIVE DEFENSES
    6               As separate and distinct affirmative defenses to the Complaint, Defendant
    7 without conceding that it bears the burden of proof as to any of them, and without in
    8 any way admitting any of the allegations in the Complaint, alleges as follows:
    9                                FIRST AFFIRMATIVE DEFENSE
  10                                      (Failure to State a Claim)
  11                127. The Complaint and its purported causes of action fail to state a cause of
  12 action on which relief can be granted, and fail to state facts sufficient to constitute a
  13 cause of action against Defendant.
  14                               SECOND AFFIRMATIVE DEFENSE
  15                               (Unclean Hands / Failure to Do Equity)
  16                128. The Plaintiff is barred in equity and law from claiming or recovering
  17 any relief set forth in the Complaint and its purported causes of action due to its
  18 conduct and the conduct of its agents, attorneys and representatives.
  19                                THIRD AFFIRMATIVE DEFENSE
  20                                       (Statute of Limitations)
  21                129. The Complaint and its purported causes of action are barred in whole or
  22 in part by the applicable statute of limitations.
  23                               FOURTH AFFIRMATIVE DEFENSE
  24                                              (Estoppel)
  25                130. The Plaintiff is estopped from asserting any claim for relief against
  26 Defendant with respect to the matters which are the subject of the Complaint and its
  27 purported causes of action.
  28                                FIFTH AFFIRMATIVE DEFENSE
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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 14 of 16 Page ID #:558




    1                                              (Laches)
    2               131. The Complaint and its purported causes of action are barred in whole or
    3 in part by the doctrine of laches.
    4                               SIXTH AFFIRMATIVE DEFENSE
    5                                       (Misuse of Copyright)
    6               132. The Complaint and its purported causes of action are barred in whole or
    7 in part because of the doctrine of copyright misuse.
    8                             SEVENTH AFFIRMATIVE DEFENSE
    9                                     (License/Authorized Use)
  10                133. The Complaint and its purported causes of action are barred, in whole
  11 or in part, because Defendant was authorized to use the designs at issue.
  12                               EIGHTH AFFIRMATIVE DEFENSE
  13                                            (No Damages)
  14                134. The Complaint and its purported causes of action are barred, in whole
  15 or in part, by the Plaintiff’s failure to establish any loss, injury or damages.
  16                                NINTH AFFIRMATIVE DEFENSE
  17                                          (Innocent Intent)
  18                135. The Complaint and its purported causes of action are barred, in whole
  19 or in part, because Defendant’s conduct was in good faith and with non-willful
  20 intent, at all times.
  21                                TENTH AFFIRMATIVE DEFENSE
  22                              (Unconstitutionally Excessive Damages)
  23                136. Plaintiff’s claims are barred because statutory damages sought are
  24 unconstitutionally excessive and disproportionate to any actual damages that may
  25 have been sustained in violation of the Due Process clause.
  26                             ELEVENTH AFFIRMATIVE DEFENSE
  27                                          (Waiver/Release)
  28                137. Plaintiff’s claims are barred because it has waived and/or released
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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 15 of 16 Page ID #:559




    1 them.
    2                             TWELFTH AFFIRMATIVE DEFENSE
    3                                             (Bad Faith)
    4               138. The Complaint and its purported causes of action are barred, in whole
    5 or in part, because they were filed and are maintained in bad faith.
    6                           THIRTEENTH AFFIRMATIVE DEFENSE
    7                             (Attorneys’ Fees and Costs Unavailable)
    8               139. The Complaint and its purported causes of action fail to allege facts
    9 sufficient to support a claim for attorneys’ fees and costs.
  10                            FOURTEENTH AFFIRMATIVE DEFENSE
  11                             (No Factual Basis for Enhanced Damages)
  12                140. The Complaint and its purported causes of action fail to allege facts
  13 sufficient to support a claim for enhanced damages.
  14                             FIFTEENTH AFFIRMATIVE DEFENSE
  15                                          (Statute of Frauds)
  16                141. The Complaint and its purported causes of action are barred under the
  17 statute of frauds.
  18                             SIXTEENTH AFFIRMATIVE DEFENSE
  19                                       (Independent Creation)
  20                142. Defendant alleges it is not liable in whole or part based on independent
  21 creation by another rather than copying any of Plaintiff’s alleged works.
  22                           SEVENTEENTH AFFIRMATIVE DEFENSE
  23                                           (Public Domain)
  24                143. Defendant alleges that Plaintiff’s claims are barred, in whole or in part,
  25 to the extent that “artwork” or designs in which Plaintiff claims a copyright interest
  26 is actually in the public domain.
  27                            EIGHTEENTH AFFIRMATIVE DEFENSE
  28                                        (Additional Defenses)
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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
Case 2:17-cv-07512-AB-PJW Document 65 Filed 02/16/18 Page 16 of 16 Page ID #:560




    1               144. Defendant reserves the right to supplement or amend this Answer,
    2 including through the addition of further affirmative defenses, based upon the course
    3 of discovery and proceedings in this action.
    4                                             PRAYER
    5               WHEREFORE, Defendant prays as follows:
    6               a.    That the Plaintiff takes nothing by way of its Complaint;
    7               b.    That judgment be entered in favor of Defendant, and against the
    8 Plaintiff, as to the Plaintiff’s Complaint and its purported causes of action;
    9               c.    That Defendant be awarded its attorneys’ fees; and
  10                d.    That the Court grant Defendant whatever other relief it deems
  11 appropriate.
  12                                   DEMAND FOR JURY TRIAL
  13                In accordance with Fed. R. Civ. P. 38(b), Forever 21 demands a trial by jury
  14 on all issues so triable.
  15
  16 DATED: February 16, 2018                    Ekwan E. Rhow
                                                 Timothy B. Yoo
  17
                                                 Gabriela C. Rivera
  18                                             Bird, Marella, Boxer, Wolpert, Nessim,
                                                 Drooks, Lincenberg & Rhow, P.C.
  19
  20
  21                                             By:
  22                                                               Gabriela C. Rivera
  23                                                   Attorneys for Defendant Forever 21, Inc.

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             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
